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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. ____________-CIV-___________/____________


  HUGO AVILES, on behalf of himself
  and others similarly situated,

         Plaintiff,

         v.

  GOLD START GROUP LLC, a Florida Limited Liability
  Company, ANIBAL VASQUEZ-LOPEZ, individually,
  GOLD STAR ROOFING & CONSTRUCTION CORP.,
  a Florida Corporation, and JOSE MARTINEZ, individually,

        Defendants.
  ___________________________________________/

                                           COMPLAINT

         1.      Plaintiff, HUGO AVILES (hereinafter referred to as “Plaintiff”), is an individual

  residing in Miami-Dade County, Florida.

         2.      Defendants, GOLD START GROUP LLC, a Florida Limited Liability Company,

  ANIBAL VASQUEZ-LOPEZ, individually, GOLD STAR ROOFING & CONSTRUCTION

  CORP., a Florida Corporation, and JOSE MARTINEZ, individually (collectively referred to as

  “Defendants”), have at all times material to this Complaint owned and/or operated a roofing and

  contracting business in Miami-Dade County.

         3.      At all times material to this Complaint, Defendants, GOLD START GROUP LLC

  and GOLD STAR ROOFING & CONSTRUCTION CORP., directly or indirectly, acted in the

  interest of an employer toward Plaintiff and the other similarly situated employees, including

  without limitation directly or indirectly controlling the terms of employment and compensation of

  Plaintiff and the other employees similarly situated to him and/or sharing revenues, expenses, and



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  operational control of the respective corporate Defendants through ANIBAL VASQUEZ-LOPEZ

  and JOSE MARTINEZ together running a roofing and contracting business.                     Alternately,

  Defendants, GOLD START GROUP LLC and GOLD STAR ROOFING & CONSTRUCTION

  CORP., and each of their respective divisions, subsidiaries or affiliates, and parent entities,

  however constituted, were joint employers of Plaintiff and the other similarly situated employees

  because each, respective division, subsidiary or affiliate acted directly or indirectly in the interest

  of the other in relation to Plaintiff and the others similarly situated to him. As a second alternative,

  Defendants, GOLD START GROUP LLC and GOLD STAR ROOFING & CONSTRUCTION

  CORP., and each of their divisions, subsidiaries or affiliates, and parent entities, however

  constituted, were joint employers of Plaintiff and the other employees similarly situated to him

  because the corporate Defendants, through ANIBAL VASQUEZ-LOPEZ and JOSE MARTINEZ,

  commonly controlled the finances, terms of compensation and employment of Plaintiff and the

  other similarly situated employees, and/or were not completely disassociated with respect to the

  terms of compensation and employment of Plaintiff and the others similarly situated to him. As a

  final alternative, Defendants, GOLD START GROUP LLC and GOLD STAR ROOFING &

  CONSTRUCTION CORP., and each of their divisions, subsidiaries or affiliates, and parent

  entities, however constituted, directly or indirectly acted in the interest of an employer toward

  Plaintiff and the other similarly situated employees at all material times to this Complaint,

  including without limitation directly or indirectly controlling the finances and operations of the

  corporate Defendants through ANIBAL VASQUEZ-LOPEZ and JOSE MARTINEZ, including

  overseeing the terms of employment and compensation of Plaintiff and the others similarly situated

  to him.




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          4.       Defendants, ANIBAL VASQUEZ-LOPEZ and JOSE MARTINEZ, have at all

  times material to this Complaint owned and/or managed GOLD START GROUP LLC and GOLD

  STAR ROOFING & CONSTRUCTION CORP. and VASQUEZ-LOPEZ together with

  MARTINEZ have regularly exercised the authority to hire and fire employees including Plaintiff,

  determined the manner in which Plaintiff and other employees were compensated, determined how

  Plaintiff and other employees’ hours worked were tracked or recorded, set the rates of pay of

  Plaintiff and other employees, and/or controlled the finances and day-to-day management

  operations of GOLD START GROUP LLC and GOLD STAR ROOFING & CONSTRUCTION

  CORP.        By virtue of such control and authority, ANIBAL VASQUEZ-LOPEZ and JOSE

  MARTINEZ are employers and/or joint-employers of Plaintiff and the other employees of GOLD

  START GROUP LLC and GOLD STAR ROOFING & CONSTRUCTION CORP. similarly

  situated to Plaintiff as defined by the FLSA, 29 U.S.C. §203(d).

          5.       Plaintiff brings this action on behalf of himself and other current and former roofing

  employees and manual laborers of Defendants, however variously titled, similarly situated to

  Plaintiff for unpaid overtime wages, liquidated damages, and the costs and reasonable attorneys’

  fees of this action under the provisions of the FLSA, 29 U.S.C. §216(b). It is the intent of this

  collective action to apply to all similarly situated employees of Defendants regardless of location.

          6.       Jurisdiction is conferred on this Court by 29 U.S.C. §216(b) and 28 U.S.C. §133

          7.       All of the events, or a substantial part of the events, giving rise to this action,

  occurred in Miami-Dade, Florida within the jurisdiction of the United States District Court for the

  Southern District of Florida.

          8.       At all times material to this Complaint including but not necessarily limited to

  during the years of 2016, 2017, 2018, and 2019, GOLD START GROUP LLC and GOLD STAR




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  ROOFING & CONSTRUCTION CORP. have had two (2) or more employees who have regularly

  sold, handled, or otherwise worked on goods and/or materials that had been moved in or produced

  for commerce. In this regard, Plaintiff alleges based upon information and belief and subject to

  discovery, that at all times material to this Complaint including during the years 2016, 2017, 2018,

  and 2019, GOLD START GROUP LLC and GOLD STAR ROOFING & CONSTRUCTION

  CORP. have employed two (2) or more employees who, inter alia, have regularly: (a) handled and

  worked with tools and equipment such as nail guns, staple guns, hammers, and shovels, all of

  which were all goods and/or materials moved in or produced for commerce; (b) handled, worked

  with, and roofing materials including but not limited to roofing paper, tar, and nails, all of which

  were all goods and/or materials moved in or produced for commerce; (c) trucks used in the

  operation of Defendants’ roofing business including a Ford F250, Ford F350, and Chevrolet 150,

  of which were goods and/or materials moved in or produced for commerce; and (d) processed and

  participated in electronic bank, payroll, and other financial electronic transactions.

         9.      Based upon information and belief, the annual gross sales volume of GOLD

  START GROUP LLC and GOLD STAR ROOFING & CONSTRUCTION CORP. has been in

  excess of $500,000.00 per annum at all times material to this Complaint, including but not

  necessarily limited to during the years of 2016, 2017, 2018, and 2019.

         10.     At all times material to this Complaint, including but not necessarily limited to

  during the years of 2016, 2017, 2018, and 2019, GOLD START GROUP LLC and GOLD STAR

  ROOFING & CONSTRUCTION CORP. have constituted an enterprise engaged in interstate

  commerce or in the production of goods for commerce as defined by the FLSA, 29 U.S.C. §203(s).

         11.     Between approximately March 2018 and March 2019, Plaintiff worked for

  Defendants as a non-exempt manual laborer in Defendants’ roofing contracting business in Miami-




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  Dade County, Florida with Plaintiff’s primary duties that consisted of the following non-exempt

  tasks: (a) driving one of Defendants’ F250 trucks and picking up materials and supplies at stores

  such as Gulfeagle Supply and ABC Supply Co.; and (b) performing manual labor on residential

  roofs to repair or replace existing roofs and install new roofs along with Defendants’ other

  employees at multiple homes each week.

         12.     The additional persons who may become Plaintiffs in this action are Defendants’

  current and former non-exempt roofing employees and manual laborers, however variously titled,

  who have worked for Defendants in one or more weeks between September 2016 and the present

  and carried out manual labor in support of Defendants’ roofing projects without being paid time

  and one-half wages for all of their actual hours worked in excess of Forty (40) hours per week for

  Defendants.

         13.     Throughout Plaintiff’s employment with Defendants during the three (3) year

  statute of limitations period between approximately March 2018 and March 2019, Plaintiff

  regularly worked in excess of Forty (40) hours per week but Defendants failed to pay Plaintiff time

  and one-half wages for all of his actual overtime hours worked each week, with Defendants instead

  paying part of the wages to Plaintiff and the other similarly situated employees in checks through

  South East Personnel Leasing while also paying Plaintiff and the other employees with the rest of

  their wages in cash – but without time and one-half compensation for overtime hours as required

  by the FLSA.

         14.     Likewise, the other employees of Defendants who are similarly situated to Plaintiff

  have regularly worked as non-exempt roofing employees and manual laborers, however, variously

  titled, in excess of Forty (40) hours in one or more work weeks for Defendants within the three (3)

  year statute of limitations period between September 2016 and the present.




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         15.     However, Defendants have failed to pay time and one-half wages for all of the

  actual overtime hours worked by the other non-exempt roofing employees and manual laborers,

  however variously titled, similarly situated to Plaintiff for all of their actual overtime hours and

  instead paid part of their wages via check and part in cash without time and one-half wages for

  their hours worked in excess of Forty (40) hours per week during the three (3) year statute of

  limitations period between September 2016 and the present.

         16.     During the three (3) year statute of limitations period between approximately March

  2018 and March 2019, Plaintiff regularly worked six (6) days per week for Defendants, Monday

  through Saturday, with start times of approximately 6:30 a.m. and stop times of approximately

  5:00-7:00 p.m., regularly working an average of approximately Sixty-Six (66) hours per week.

         17.     Subject to discovery, based upon Defendants paying Plaintiff based upon a day rate

  of approximately $133.00 per day—through approximately $400.00 paid via check and

  approximately $400.00 paid in cash—and Plaintiff being owed an average of approximately

  Twenty-Six (26) overtime hours per week during a total of approximately Fifty (50) work weeks

  between approximately March 2018 and March 2019 at the rate of approximately $6.06 per hour

  [$800.00/66 hours= [$12.12/2 = $6.06/hour], Plaintiff’s unpaid overtime wages total

  approximately $7,878.79 [$6.00/hour x 26 OT hours/week x 50 weeks = $7,878.79].

         18.     Based upon information and belief, Defendants failed to maintain records of the all

  of the actual start times, stop times, number of hours worked each day, and total hours actually

  worked each week by Plaintiff and other similarly situated roofing employees and manual laborers,

  however variously titled, during each week between September 2016 and the present as required

  by the FLSA, 29 C.F.R. §516.2(a)(7).




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         19.     At all times material to this Complaint, Defendants had knowledge of the hours

  worked by Plaintiff and other similarly situated roofing employees and manual laborers, however

  variously titled, in excess of Forty (40) hours per week between September 2016 and the present,

  but Defendants nonetheless willfully failed to compensate Plaintiff and the others similarly

  situated to him at time and one-half their applicable regular rates of pay for all of their overtime

  hours worked for Defendants, with Defendants instead accepting the benefits of the work

  performed by Plaintiff and the other employees without paying the time and one-half overtime

  compensation required by the FLSA, 29 U.S.C. §207.

         20.     The complete records reflecting both the compensation paid by Defendants to

  Plaintiff and all other similarly situated non-exempt roofing employees and manual laborers,

  however variously titled, at any location between September 2016 and the present are in the

  possession, custody, and/or control of Defendants.

                                 COUNT I
           OVERTIME VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

         21.     Plaintiff, HUGO AVILES, readopts and realleges the allegations contained in

  Paragraphs 1 through 20 above.

         22.     Plaintiff is entitled to be paid time and one-half of his applicable regular rates of

  pay for each hour he worked for Defendants as a non-exempt employee in Defendants’ roofing

  business in excess of Forty (40) hours per work week during the three (3) year statute of limitations

  period between approximately March 2018 and March 2019.

         23.     All similarly situated non-exempt roofing employees and manual laborers however

  variously titled, of Defendants are also entitled to be paid time and one-half of their applicable

  regular rates of pay for each and every overtime hour they worked for Defendants at any location

  but were not properly compensated for working on Defendants’ behalf during any work weeks



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  within the three (3) year statute of limitations period between September 2016 and the present.

         24.     Defendants knowingly and willfully failed to pay Plaintiff and the other non-

  exempt roofing employees and manual laborers, however variously titled, similarly situated to him

  at time and one-half of their applicable regular rates of pay for all hours worked for Defendants in

  excess of Forty (40) per week between September 2016 and the present.

         25.     At all times material to this Complaint, Defendants had constructive and actual

  notice that Defendants’ compensation practices did not provide Plaintiff and other roofing

  employees and manual laborers, however variously titled, with time and one-half wages for all of

  their actual overtime hours worked between September 2016 and the present based upon, inter

  alia, Defendants: (a) failing to maintain accurate time records of the actual start times, actual stop

  times, and actual total hours worked each week by Plaintiff and the other employees; and (b)

  attempting to use cash wages to avoid Defendants’ knowing failure to pay time and one-half wages

  for all of the actual hours worked in excess of Forty (40) hours per week by Plaintiff and other

  similarly situated employees for the overtime hours that Defendants knew had been worked for

  the benefit of Defendants.

         26.     By reason of the said intentional, willful and unlawful acts of Defendants, all

  Plaintiffs (the named Plaintiff and those similarly situated to him) have suffered damages plus

  incurring costs and reasonable attorneys’ fees.

         27.     Based upon information and belief, at all times material to this Complaint,

  Defendants did not have a good faith basis for its failure to pay time and one-half wages for all of

  the actual hours worked by Plaintiff and the other similarly situated roofing employees and manual

  laborers, however variously titled, as a result of which Plaintiff and those similarly situated to him

  are entitled to the recovery of liquidated damages from Defendants pursuant to 29 U.S.C. §216(b).




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         28.     Plaintiff has retained the undersigned counsel to represent him in this action, and

  pursuant to 29 U.S.C. §216(b), Plaintiff is entitled to recover from Defendants all reasonable

  attorneys’ fees and costs incurred as a result of Defendants’ violations of the FLSA.

         29.     Plaintiff demands a jury trial.

         WHEREFORE, Plaintiff, HUGO AVILES and any current or former employees similarly

  situated to him who join this action as Opt-In Plaintiffs, demand judgment against Defendants,

  jointly and severally, GOLD START GROUP LLC, ANIBAL VASQUEZ-LOPEZ, GOLD STAR

  ROOFING & CONSTRUCTION CORP., and JOSE MARTINEZ, for the payment of all unpaid

  overtime compensation, liquidated damages, reasonable attorneys’ fees and costs of suit, and for

  all proper relief including prejudgment interest.

                                      JURY TRIAL DEMAND

         Plaintiff demands trial by jury on all issues so triable.


  Dated: September 19, 2019                        Respectfully submitted,

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